Case 2:05-cr-20229-SH|\/| Document 16 Filed 07/20/05 Page 1 of 2 Page|D 6

lN THE UNITED STATES DISTRICT COURT£""'E$,H~;;""_`.s m _»
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 JUL §§ wm

 

UNITED STATES OF AMERICA

 

V.

RODERIC YA'I`ES 05€1‘20229-Bre

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on QA//é, ¢;za, gai-5 the United States Attorney

for this district appeared on behalf of the gr%rnmer(pl, and the defendant appeared in person and With
counsel:

NAME__Z.¢L&{_AQ.MA_M/\ (FF\O /) Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

 

Al] motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

he defendant, Who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. Marshal.
A,¢ mo /(. Z.Am»g//-'
UNITED STATES MAGISTRATE ]UDGE

 

CHARGES - 18:2]13(a)
BANK ROBBERY BY FORCE OR VIOLENCE

Attorney assigned to Case: L. Craig

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This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20229 Was distributed by faX, mail, or direct printing on
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Lorraine Craig

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Honorable J. Breen
US DISTRICT COURT

